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 10   SANDRA EDMONDS
 11
 12
                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA
 13
 14   Sandra Edmonds                             Case No.:
 15
              Plaintiff,
 16
      v.                                      COMPLAINT FOR VIOLATIONS
 17                                           OF: AMERICANS WITH
      Kissinger Properties, a Business of     DISABILITIES ACT OF 1990, 42
 18   Unknown Form; Smart & Final Stores      U.S.C. § 12181 et seq.; UNRUH
      LLC, a California Corporation; and Does CIVIL RIGHTS ACT, CALIFORNIA
 19   1-10,                                   CIVIL CODE § 51 et seq.
 20
              Defendants.
 21
 22                                              DEMAND FOR JURY TRIAL

 23
 24
 25             Most Americans become disabled at some point in life…
 26
            Plaintiff Sandra Edmonds (hereinafter referred to as “Plaintiff,”) complains
 27
 28   of Kissinger Properties, a Business of Unknown Form; Smart & Final Stores LLC,


                                         COMPLAINT
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  1   a California Corporation; and Does 1-10 (each, individually a “Defendant,” and
  2
      collectively “Defendants”), and alleges as follows:
  3
  4                              I.     PARTIES

  5         1.     Sandra Edmonds suffers from osteoarthritis. Her movement and
  6
      walking are greatly impaired. The arthritis affects her knees and lower back
  7
  8   especially severely. The cartilage in both her knees has eroded. The bones in her
  9   knees grind on each other, causing pain and impairment. She relies on a walker or
 10
      cane on a daily basis for mobility. Plaintiff is a California resident with physical
 11
 12   disabilities. Plaintiff has been issued a blue permanent disabled person parking
 13   placard by the State of California. Plaintiff is qualified as disabled pursuant to 42
 14
      U.S.C. Section 12102(2)(A), the California Unruh Civil Rights Act, Sections 51, et
 15
 16   seq., and 52, et seq., and other statutory laws which protect the rights of “disabled
 17   persons.”
 18
            2.     Defendant Kissinger Properties, a Business of Unknown Form owned
 19
 20   the property (“Property”) located at 2929 Crenshaw Blvd, Los Angeles, CA 90016,
 21
      at all relevant times.
 22
            3.     There is a business establishment on the Property known as “Smart &
 23
 24   Final” hereinafter “business”).
 25
            4.     Defendant Smart & Final Stores LLC, a California Corporation, is/was
 26
      a lessee of the Property with control over its business at all relevant times.
 27
 28         5.     DOES 1 through 10 were at all relevant times lessors, lessees, property
                                            2
                                        COMPLAINT
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  1   owners, subsidiaries, parent companies, employers, employees, agents, corporate
  2
      officers, managers, principles and/or representatives of Defendants. Plaintiff is
  3
  4   unaware of the true names and capacities of Defendants sued herein, as DOES 1

  5   through 10, inclusive, and therefore, sues those Defendants by fictitious names.
  6
      Plaintiff requests that the Court grant leave to amend this complaint to allege the
  7
  8   true names and capacities when determined by whatever source.
  9         6.     Plaintiff alleges that Defendants at all times have been and are relevant
 10
      to this cause of action, the owners, franchisees, lessees, general partners, limited
 11
 12   partners, agents, employees, employers, represent partners, subsidiaries, partner
 13   companies, and/or joint ventures of the remaining Defendants and were acting
 14
      within the course and scope of that relationship. Plaintiff is further informed and
 15
 16   believes and alleges that each of the Defendants gave consent to, ratified, and/or
 17   authorized the acts alleged of each of the remaining defendants.
 18
            7.     Plaintiff visited the public accommodations owned and operated by
 19
 20   Defendants with the intent to purchase and/or use the goods, services, facilities,
 21
      privileges, advantages, or accommodations operated and/or owned by Defendants.
 22
                                II.    JURISDICTION & VENUE
 23
 24         8.     This Court has subject matter jurisdiction over this action pursuant to
 25
      28 U.S.C. § 1331 and § 1343(a)(3) & (a)(4) for violations of the Americans with
 26
      Disabilities Act of 1990, 42 U.S.C. § 12101, et seq. (the “ADA”).
 27
 28         9.     Pursuant to supplemental jurisdiction, an attendant and related cause of
                                            3
                                        COMPLAINT
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  1   action, arising from the same nucleus of operative facts and arising out of the same
  2
      transactions, is also brought under California’s Unruh Civil Rights Act, which act
  3
  4   expressly incorporates the ADA.

  5          10.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b) and is
  6
      founded on the fact that the real property which is the subject of this action is
  7
  8   located in this district and that Plaintiff’s cause of action arose in this district.
  9                                III.   FACTS
 10
             11.      The Property owned by Defendants is a facility which is open to the
 11
 12   public and is a business establishment.
 13          12.      Plaintiff alleges that the Property has been newly constructed and/or
 14
      underwent remodeling, repairs, or alterations since 1992, and that Defendants have
 15
 16   failed to comply with California access standards which applied at the time of each
 17   new construction and/or alteration or failed to maintain accessible features in
 18
      operable working condition.
 19
 20          13.      Plaintiff visited the Property during the relevant statutory period on
 21
      three (3) separate occasions, in November 2020 and December 2020 to patronize
 22
      the business.
 23
 24          14.      Defendants did not offer persons with disabilities with equivalent
 25
      facilities, privileges and advantages offered by Defendants to other patrons.
 26
             15.      Plaintiff encountered barriers (both physical and intangible) that
 27
 28   interfered with – and denied – Plaintiff the ability to use and enjoy the goods,
                                              4
                                          COMPLAINT
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  1   services, privileges, and accommodations offered at the Property.
  2
            16.   Parking for patrons visiting the Property are among the facilities,
  3
  4   privileges, and advantages offered by Defendants to patrons of the Property.

  5         17.   However, there is no accessible parking for disabled patrons. Not one
  6
      single space. The parking space designated for disabled persons does not comply
  7
  8   with the Americans with Disabilities Act (“ADA”).
  9         18.   The parking area does not comply with the latest California Building
 10
      Codes (“2010 CBC”).
 11
 12         19.   Parking is one of the facilities, privileges, and advantages offered by
 13   Defendants to patrons of the Property.
 14
            20.   When Plaintiff visited the Property, Plaintiff experienced access
 15
 16         barriers related to parking, signage, paths of travel, and restrooms.
 17         Plaintiff encountered the following barriers at Defendant’s Property:
 18
            Smart and Final and the Property it sits on does not have any accessible
 19
 20         designated disabled parking spaces, accessible loading/unloading access
 21
            aisles, and an accessible path of travel. The parking spaces and access
 22
            aisles have many pavement distresses and slopes, which result in a
 23
 24         tripping hazard for Plaintiff. The parking area also needs repainting.
 25
            One of the access aisles is obstructed by a traffic cone which prevents
 26
            Plaintiff’s travel in this area. The path of travel also needs repair
 27
 28         because of the slopes and many pavement distresses. There is no safe
                                           5
                                       COMPLAINT
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  1        way for Plaintiff to access the business. There are other elements on this
  2
           Property that are not ADA-compliant, such as restrooms and signage.
  3
  4        VIOLATION of 2010 California Building Code (CBC) § 1114B.1.2; 1991

  5        ADA Standards for Accessible Design (ADAS) § 4.3.2(1). (Exterior route
  6
           of travel.) An accessible route of travel is not provided to all entrances and
  7
  8        portions of the building, entrances and/or between the building and a public
  9        way.
 10
 11
 12        VIOLATION of 2010 CBC § 1127B.1. (No accessible exterior route.)
 13        There is no accessible path of travel into the building entrances. There is no
 14
           safe way for Plaintiff to travel from the parking area to the entrance of the
 15
 16        Property.
 17
 18
           VIOLATION of 2010 CBC § 1127B.1; 1991 ADAS § 4.6.2(1).
 19
 20        (Directional signage.) There is no directional signage showing an accessible
 21        path of travel.
 22
 23
 24        VIOLATION of 2010 CBC § 1129B.4. (Off-street unauthorized parking
 25
           sign – towed vehicle information.) The tow away sign (white sign stating
 26
           that “UNAUTHORIZED VEHICLES PARKED IN DESIGNATED
 27
 28        ACCESSIBLE SPACES … WILL BE TOWED AWAY”) does not state the
                                          6
                                      COMPLAINT
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  1        required information regarding the tow company and telephone number.
  2
  3
  4        VIOLATION of 2010 ADAS 403.3. (Path of travel- cross slope.) The cross

  5        slope of the accessible path of travel is greater than two (2) percent.
  6
  7
  8        VIOLATION of 2010 CBC § 1129B.3; 1991 ADAS § 4.6.3; 2010 ADAS §
  9        502.2. (Faded paint – accessible space lines.) The paint used for the
 10
           designated accessible parking space is so worn and aged that it cannot be
 11
 12         seen. This makes it unclear where the actual parking space is. The required
 13         width dimensions are not painted as required. This makes it difficult for
 14
            Plaintiff to park in the designated space.
 15
 16
 17        VIOLATION of 2010 CBC § 1129B.3; 2010 ADAS § 502.2. (Width of
 18
           space). The parking space designated for disabled persons measures less than
 19
 20        nine (9) feet wide. This makes it difficult for Plaintiff to park in the
 21        designated space.
 22
 23
 24        VIOLATION of 2010 CBC § 1129B.3; 2010 ADAS § 502.2. (Length of
 25
           space.) The designated disabled parking space measures less than eighteen
 26
           (18) feet long, which makes it difficult for Plaintiff to park in the designated
 27
 28        space.
                                           7
                                       COMPLAINT
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  1
  2
           VIOLATION of 2010 CBC § 1133B.7.1; 1991 ADAS § 4.6.8. (Abrupt
  3
  4        changes in level.) The path of travel from the space reserved for disabled

  5        patrons has an uneven ground surface with changes in level exceeding one-
  6
           half inch.
  7
  8
  9        VIOLATION of 2010 CBC § 1129B.3.4; 1991 ADAS § 4.6.3; 2010 ADAS
 10
           § 502.4. (Slope of parking space.) The designated accessible parking space
 11
 12        has a running slope greater than two (2) percent.
 13
 14
           VIOLATION of 2010 CBC § 1129B.3.4; 1991 ADAS § 4.6.3; 2010 ADAS
 15
 16        § 502.4. (Slope of adjacent access aisle.) The adjacent loading/unloading
 17        access aisle for the space reserved for disabled persons has a running slope
 18
           greater than two (2) percent.
 19
 20
 21        VIOLATION of 1991 CA Title 24 § 1129B.4.2; 2010 CBC § 1129B.3;
 22
           2010 ADAS § 4.6.3. (Length of adjacent access aisle.) The adjacent access
 23
 24        aisle to the designated accessible parking space is less than eighteen (18) feet
 25
           long. This makes it difficult for Plaintiff to use the adjacent space to safely
 26
           disembark from the car.
 27
 28
                                          8
                                      COMPLAINT
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  1        VIOLATION of 1991 CA Title 24 § 1129B.4.2; 2010 CBC § 1129B.3;
  2
           2010 ADAS § 4.6.3. (Width of adjacent access aisle.) The adjacent
  3
  4        loading/unloading access aisle to the designated disabled parking space is

  5        less than five (5) feet wide. This makes it difficult for Plaintiff to use the
  6
            adjacent space to safely disembark from the car.
  7
  8
  9        VIOLATION of 2010 CBC § 1129B.3.1; 1991 ADAS § 4.6.3; 2010 ADAS
 10
           § 502.3. (No loading/unloading access aisle.) The adjacent loading/unloading
 11
 12        access aisle for one of the accessible parking spaces is obstructed by a traffic
 13         cone. This makes it difficult for Plaintiff to use the adjacent space to safely
 14
            disembark from the car.
 15
 16
 17        VIOLATION of 2010 CBC § 1129B.4. (Surface signage.) The paint used for
 18
           the designated accessible parking spaces is faded and cannot be seen. There is
 19
 20        no compliant surface signage at the designated disabled parking space. The
 21        International Access Symbol is double painted.
 22
 23
 24        VIOLATION of 2010 CBC § 1129B.3.1. (“NO PARKING” – ground
 25
           surface sign.) The words “NO PARKING” is fading from the adjacent
 26
           loading/unloading access aisles. As a result, non-disabled patrons park in the
 27
 28        loading/unloading access aisles, blocking Plaintiff from being able to use the
                                           9
                                       COMPLAINT
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   1         access aisles. Cars and trucks park or block the access aisles because the
   2
             paint is faded and difficult to read.
   3
   4
   5         VIOLATION of 2010 ADAS § 502.3. (Access aisles.) The adjacent
   6
             loading/unloading access aisle must adjoin an accessible route to an accessible
   7
   8         entrance. It does not.
   9
  10
             VIOLATION of 2010 CBC § 1133B.7.4; 2010 ADAS § 303.3. (Changes in
  11
  12         level of ground surface.) Within the parking spaces reserved for disabled
  13         patrons, the asphalt is uneven, with depressions, dips, divots, and uneven
  14
             ground. There are sunken parts. There are cracked parts. This makes
  15
  16         travelling in this area difficult.
  17
  18
             VIOLATION of 2010 CBC § 1133B.7.4; 2010 ADAS § 303.3. (Path from
  19
  20         parking – uneven surface.) The path of travel from the designated disabled
  21         parking spaces to the entrance has damaged ground which is uneven. The
  22
             damaged ground has pavement distresses. Parts of the ground surface are not
  23
  24         flush. The surface of the ground within the designated path of travel leading
  25
             into the entrance is not flat. This makes traveling in this area difficult. The
  26
             path of travel from the designated disabled parking spaces to the entrance
  27
  28         runs into these pavement distresses which have caused changes in level
                                             10
                                          COMPLAINT
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   1         greater than one-half inch, but no ramp is provided. These steep changes in
   2
             level create uneven surfaces. The types of pavement distresses which exist
   3
   4         include but are not limited to: alligator (fatigue) cracking, joint reflection

   5         cracking, potholes, asphalt bleeding, patching near utilities, block cracking,
   6
             raveling, stripping, corrugation and shoving, and depressions. These
   7
   8         pavement distresses are made worse and exacerbated by designs which do
   9         not follow the ADAAG. These areas should be fixed immediately because
  10
             they are also a tripping and falling hazard.
  11
  12
  13         VIOLATION of 2010 CBC § 1133B.5.1; 1991 ADAS §§ 4.3.7, 4.8.1, 2010
  14
             ADAS § 403.3, 2016 CBC § 11B-403.3. (Ramps.) The accessible route of
  15
  16         travel has a slope greater than 1:20 (5%) but is not a compliant ramp.
  17
  18
             VIOLATION of 2010 CBC § 1133B.5.2. (Minimum width of ramps.) The
  19
  20         ramps do not have a minimum clear width of forty-eight (48) inches.
  21
  22
             VIOLATION of 2010 CBC § 1133B.5.3; 1991 ADAS § 4.8.2. (Least
  23
  24         possible slope of ramp.) The least possible slope is not used for the ramp
  25
             leading into the business.
  26
  27
  28         VIOLATION of 2010 CBC § 1133B.5.3; 1991 ADAS § 4.8.2. (Maximum
                                             11
                                          COMPLAINT
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   1         slope of ramp.) The slope of the ramp leading into the business is greater
   2
             than 8.33%.
   3
   4
   5         VIOLATION of 2010 CBC § 1133B.5.3.1; 1991 ADAS § 4.8.6. (Maximum
   6
             cross slope of ramp.) The cross slope of the ramp was greater than 2%.
   7
   8
   9         VIOLATION of 2010 CBC § 1133B.5.4; 1991 ADAS § 4.8.4. (Level ramp
  10
             landings.) Level ramp landings must be provided at the top and bottom of
  11
  12         each ramp. They are not provided.
  13
  14
             VIOLATION of 2010 CBC § 1133B.5.4; 1991 ADAS § 4.8.4(1). (Width of
  15
  16         ramp landings.) The landing of ramps must be at least as wide as the ramp
  17         run leading to it, but they are not.
  18
  19
  20         VIOLATION of 2010 CBC § 1133B.5.4.2; 1991 ADAS §§ 4.8.4(2),
  21         4.8.4(3). (Minimum landing width and length for top ramp landings.) The
  22
             ramp’s top landing is not sixty (60) inches wide and long as required.
  23
  24
  25
             VIOLATION of 2010 CBC § 1133B.5.4.2. (Minimum landing length for
  26
             bottom ramp landings.) The ramp’s bottom landing is not seventy-two (72)
  27
  28         inches in length as required.
                                            12
                                         COMPLAINT
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   1
   2
             VIOLATION of 2010 CBC § 1133B.5.4.6; 1991 ADAS § 4.8.4(3).
   3
   4         (Minimum landing size for change of direction in ramp.) The change of

   5         direction in the ramp does not have a minimum landing size of 60” x 60”.
   6
   7
   8         VIOLATION of 2010 CBC § 1133B.1.1.1.3; 2010 ADAS § 302.2. (Carpet.)
   9         Carpets and mats must be securely attached to a stable surface. Carpeting
  10
             must be securely attached so that it does not shift or buckle against wheeled
  11
  12         traffic. The carpet and/or mat inside the business is not secure and can cause
  13         rolling and buckling. Rolling or buckling occurs when carpet is not properly
  14
             secured and makes wheelchair maneuvering very difficult. It also creates a
  15
  16         tripping hazard for those using walkers and canes.
  17
  18
             VIOLATION of 2010 CBC § 1133B.7.4; 2010 ADAS § 303.3. (Front door
  19
  20         entrance threshold and weather strip changes in level.) Inside the building,
  21         the front door entrance threshold and weather strip has changes in level
  22
             greater than one-half inch but provides no ramps. This makes traversing this
  23
  24         area difficult.
  25
  26
             VIOLATION of 2010 ADAS § 404.2.8.1. (Closing speed of door.) The door
  27
  28         closer is not adjusted so that from an open position of ninety (90) degrees,
                                          13
                                       COMPLAINT
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   1         the time required to move the door to a position of twelve (12) degrees from
   2
             the latch is five (5) seconds minimum. The restroom door takes less than five
   3
   4         (5) seconds to move from a position of ninety (90) degrees to a position of

   5         twelve (12) degrees from the latch.
   6
   7
   8         VIOLATION of 2010 CBC § 1133B.2.5; 1991 ADAS § 4.13.11; 2010
   9         ADAS § 404.2.9. (Effort to operate restroom door.) The door opening force
  10
             is greater than 5 pounds, making it hard for Plaintiff to get inside the
  11
  12         restroom.
  13         Plaintiff personally encountered the foregoing barriers.
  14
             21.      These inaccessible conditions denied Plaintiff full and equal access
  15
  16   and caused difficulty, humiliation, and/or frustration.
  17         22.      The barriers existed during each of Plaintiff’s visits in 2020.
  18
             23.      Plaintiff alleges that Defendants knew that the foregoing architectural
  19
  20   barriers prevented access. Plaintiff will prove that Defendants had actual knowledge
  21   that the architectural barriers prevented access, and that the noncompliance with the
  22
       ADA Accessibility Guidelines and Title 24 of the California Building Code was
  23
  24   intentional.
  25
             24.      Plaintiff intends visit the Property again soon. Currently, Plaintiff is
  26
       reasonably deterred from returning to Defendants’ public accommodation facilities
  27
  28   because of the knowledge of barriers to equal access, relating to Plaintiff’s
                                              14
                                           COMPLAINT
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   1   disabilities, that continue to exist at the Property.
   2
             25.    Defendants have failed to maintain in working and useable conditions
   3
   4   those features necessary to provide ready access to persons with disabilities.

   5         26.    Defendants have the financial resources to remove these barriers
   6
       without much expense or difficulty in order to make their Property more accessible
   7
   8   to their mobility impaired customers. The removal of these barriers is readily
   9   achievable. The United States Department of Justice has determined that removal of
  10
       these types of barriers is readily achievable to remove.
  11
  12         27.    Defendants refuse to remove these barriers.
  13         28.    On information and belief, Plaintiff alleges that Defendants’ failure to
  14
       remove these barriers was intentional, because the barriers are logical and obvious.
  15
  16   During all relevant times, Defendants had authority, control, and dominion over
  17   these conditions; thus, the absence of accessible facilities was not a mishap, but
  18
       rather an intentional act.
  19
  20         29.    These barriers to access are described herein without prejudice to
  21
       Plaintiff citing additional barriers to access after further inspection by Plaintiff’s
  22
       access agents, pursuant to Doran v 7-ELEVEN, Inc., 524 F3d 1034 (9th Cir. 2008)
  23
  24   (holding that once a plaintiff encounters one barrier at a site, a plaintiff can sue to
  25
       have all barriers that relate to his or her disability removed, regardless of whether
  26
       he or she personally encountered them).
  27
  28      IV. FIRST CAUSE OF ACTION: VIOLATION OF THE AMERICANS
                                             15
                                          COMPLAINT
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   1       WITH DISABILITIES ACT OF 1990 (42 U.S.C. section 12101, et seq.)
   2
                                      (Against All Defendants)
   3
   4         30.    Plaintiff alleges and incorporates by reference each and every

   5   allegation contained in all prior paragraphs of this complaint.
   6
             31.    Title III of the ADA prohibits discrimination against any person on the
   7
   8   basis of disability in the full and equal enjoyment of the goods, services, facilities,
   9   privileges, advantages, or accommodations of any place of public accommodation
  10
       by any person who owns, leases, or operates a place of public accommodation.
  11
  12   U.S.C. § 12182(a).
  13         32.    Defendants discriminated against Plaintiff by denying “full and equal
  14
       enjoyment” and use of the goods, services, facilities, privileges, or accommodations
  15
  16   of Defendant’s facility during each visit and each incident of deterred visit.
  17         33.    The acts and omissions of Defendants herein were/are in violation of
  18
       Plaintiff’s rights under the ADA and the regulations under 28 C.F.R. Part 36, et seq.
  19
  20         34.     Pursuant to the ADA, discrimination is a “failure to make reasonable
  21
       modifications in policies, practices or procedures, when such modifications are
  22
       necessary to afford goods, services, facilities, privileges, advantages or
  23
  24   accommodations to individuals with disabilities, unless the entity can demonstrate
  25
       that making such modifications would fundamentally alter the nature of such goods,
  26
       services, facilities, privileges, advantages or accommodations.” 42 U.S.C. §
  27
  28   12182(b)(2)(A)(ii).
                                            16
                                         COMPLAINT
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   1         35.    The ADA requires removal of architectural barriers in existing
   2
       facilities where such removal is readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv.)
   3
   4   (“discrimination includes … a failure to remove architectural barriers, and

   5   communication barriers that are structural in nature, in existing facilities, … where
   6
       such removal is readily achievable”). The term “readily achievable” is defined as
   7
   8   “easily accomplishable and able to be carried out without much difficulty or
   9   expense.” 42 U.S.C. § 12181(9). Barriers are defined by reference to the ADA
  10
       Standards of Accessible Design (“ADAS”), found at 28 C.F.R., Part 36, including
  11
  12   the ADA Accessibility Guidelines for Buildings and Facilities (“ADAAG”) at Part
  13   36, Appendix A.
  14
             36.    If removal of any barrier is not readily achievable, a failure to make
  15
  16   goods, services, facilities, or accommodations available through alternative
  17   methods is also prohibited if these methods are readily achievable. 42 U.S.C. §
  18
       12182(b)(2)(A)(v).
  19
  20         37.    Plaintiff alleges that Defendants can easily remove the architectural
  21
       barriers at their facility without much difficulty or expense, and that Defendants
  22
       violated the ADA by failing to remove those barriers because removal was readily
  23
  24   achievable. There are companies in the area which can repaint parking areas for as
  25
       little as $350. Defendants can afford such costs, which are a fraction of what
  26
       Defendants receive in rental profits for such a large and expensive property.
  27
  28         38.    Alternatively, if it was not “readily achievable” for Defendants to
                                           17
                                        COMPLAINT
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   1   remove barriers at their facilities, Defendants violated the ADA by failing to make
   2
       the required services available through alternative methods, which are readily
   3
   4   achievable.

   5         39.     On information and belief, the facility was modified after January 26,
   6
       1992, mandating compliance access requirements under the ADA.
   7
   8         40.     The ADA requires that facilities altered in a manner that affects or
   9   could affect their usability must be made readily accessible to individuals with
  10
       disabilities to the maximum extent feasible. 42 U.S.C. §12183(a)(2).
  11
  12         41.     Plaintiff alleges that Defendants altered the facilities at the Property in
  13   a manner that violated the ADA, and/or failed to make the Property readily
  14
       accessible to physically disabled persons, including Plaintiff, to the maximum
  15
  16   extent feasible.
  17         42.     The ADA also requires reasonable modifications in policies, practices,
  18
       or procedures, when such modifications are necessary to afford goods, services,
  19
  20   facilities, privileges, advantages, or accommodations to individuals with
  21
       disabilities, unless the entity can demonstrate that making such modifications
  22
       would fundamentally alter the nature of such goods, services, facilities, privileges,
  23
  24   advantages, or accommodations. 42 U.S.C. § 12182(b)(2)(A)(ii).
  25
             43.     Plaintiff alleges that Defendants violated the ADA by failing to make
  26
       reasonable modifications in policies, practices, or procedures at the Property when
  27
  28   these modifications were necessary to afford (and would not fundamentally alter the
                                             18
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   1   nature of) the goods, services, facilities, privileges, advantages, or accommodations.
   2
             44.    Plaintiff seeks a finding from this Court that Defendants violated the
   3
   4   ADA, so that Plaintiff may pursue damages under California’s Unruh Civil Rights

   5   Act for Disable Persons Act.
   6
             45.    Here Defendants’ failure to make sure that accessible facilities were
   7
   8   available and ready to be used by the Plaintiff was/is a violation of law.
   9         46.    Plaintiff would like to continue to frequent Defendants’ property
  10
       because it is close to her home. However, Plaintiff is deterred from doing so
  11
  12   because Plaintiff has been discriminated against and is aware of accessibility
  13   barriers at the Property.
  14
             47.    Among the remedies sought, Plaintiff seeks an injunction order
  15
  16   requiring compliance with state and federal access laws, and remediation of all the
  17   existing access violations at the Property.
  18
         V. SECOND CAUSE OF ACTION: VIOLATION OF THE UNRUH ACT
  19
  20                                  (Cal. Civ. Code § 51-53.)
  21
  22                                  (Against All Defendants)

  23         48.    Plaintiff repleads and incorporates by reference, as though fully set
  24
       forth herein, the allegations contained in all prior paragraphs of this complaint.
  25
  26         49.    California Civil Code § 51 states, in part: “All persons within the

  27   jurisdictions of this state are entitled to the full and equal accommodations,
  28
                                            19
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   1   advantages, facilities, privileges, or services in all business establishments of every
   2
       kind whatsoever.”
   3
   4            50.   California Civil Code § 51 also states, in part: “No business

   5   establishment of any kind whatsoever shall discriminate against any person in this
   6
       state because of the disability of the person.”
   7
   8            51.   California Civil Code § 51(f) specifically incorporates, by reference,
   9   an individual’s rights under the ADA, into the Unruh Civil Rights Act. (“Unruh
  10
       Act”).
  11
  12            52.   The Unruh Act also provides that a violation of the ADA, or California
  13   state accessibility regulations, is a violation of the Unruh Act Cal. Civ. Code §
  14
       51(f); Arnold v. United Artists Theatre Circuit, Inc., 866 F. Supp. 433, 439 (N.D.
  15
  16   Cal. 1994).
  17            53.   Defendants’ above-mentioned acts and omissions have violated the
  18
       Unruh Act by denying Plaintiff her rights to full and equal use of the
  19
  20   accommodations, advantages, facilities, privileges, and services they offer, on the
  21
       basis of Plaintiff’s disability.
  22
                54.   Defendants’ above-mentioned acts and omissions have also violated
  23
  24   the Unruh Act by denying Plaintiff her rights to equal access pursuant to the ADA;
  25
       and, thus, Defendants are liable for damages. Cal. Civ. Code § 51(f), 52(a).
  26
                55.   Because violation of the Unruh Act resulted in difficulty, discomfort,
  27
  28   and/or embarrassment for Plaintiff, the Defendants are each also responsible for
                                             20
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   1   statutory damages, such as a civil penalty. Cal. Civ. Code § 55.56(a)(c).
   2
             56.      Plaintiff was actually damaged.
   3
   4         57.      Plaintiff was damaged by Defendants’ wrongful conduct, and seeks

   5   statutory minimum damages of four thousand dollars ($4,000) for each offense.
   6
                                      PRAYER FOR RELIEF
   7
   8                  WHEREFORE, Plaintiff prays for judgment against Defendants, as
   9   follows:
  10
             1. For injunctive relief, compelling Defendants to comply with the
  11
  12               Americans with Disabilities Act and the Unruh Civil Rights Act. Note:
  13               Plaintiff is not invoking section 55 of the California Civil Code and is not
  14
                   seeking injunctive relief under the Disabled Person Acts.
  15
  16         2. Damages under the Unruh Civil Rights Act, which provides for actual
  17               damages and a statutory minimum of $4,000 per each offense.
  18
             3. Reasonable attorney fees, litigation expenses and costs of suit, pursuant to
  19
  20               42 U.S.C. § 12205, and Cal. Civ. Code § 52.
  21                                      JURY DEMAND
  22
       Plaintiffs demand a trial by jury on all issues so triable.
  23
  24   DATED: December 28, 2020           THE LAW OFFICE OF HAKIMI & SHAHRIARI
  25
  26                                      By:   /s/ Peter Shahriari, Esq.____________
  27                                            PETER SHAHRIARI, ESQ.
                                                Attorney for Plaintiff, Sandra Edmonds
  28
                                             21
                                          COMPLAINT
